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                    EXHIBIT B
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            IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF GEORGIA
                      ATLANTA DIVISION

KEENAN’S KIDS                       :
FOUNDATION, INC.,                   :
                                    :
       Plaintiff,                   : CIVIL ACTION FILE NO.
                                    : 1:20-cv-01702-WMR
v.                                  :
                                    :
SEAN CLAGGETT,                      :
                                    :
       Defendant.

        KEENAN’S KIDS FOUNDATION, INC.’S SPECIFIC
        OBJECTIONS AND RESPONSES TO DEFENDANT’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure,

Plaintiff Keenan’s Kids Foundation (the “Foundation”) specifically objects

and responds to Defendant Sean Claggett’s (“Claggett”) First Request for

Production of Documents (“First Requests”) as follows. The Foundation is

collecting documents to produce in response to these First Requests, which it

will provide to Claggett within a reasonable time following service of these

responses. The Foundation provides the following responses without any

concession, agreement, or admission , and without waiver, of any ultimate
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determination of relevant or admissibility of particular documents for any

purpose.

                    REQUESTS FOR PRODUCTION

                                       1.

      Please produce any and all documents which reflect, identify or
describe the trade secrets you allege in your complaint.

RESPONSE TO REQUEST NO. 1: The Foundation objects to the demand

for “any and all documents” contained in Request No. 1 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

the production of these confidential documents except pursuant to a Protective

Order entered by the Court.      The Foundation will produce nonprivileged




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documents sufficient to reflect, identify or describe the trade secrets alleged

in its First Amended Complaint, if any such documents exist.

                                       2.

      Please produce any and all documents describing with reasonable
particularity the “Trade Secret Voir Dire Techniques” alleged in your
complaint.

RESPONSE TO REQUEST NO. 2: The Foundation objects to the demand

for “any and all documents” contained in Request No. 2 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

the production of these confidential documents except pursuant to a Protective

Order entered by the Court. The Foundation will produce nonprivileged




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documents sufficient to describe the trade secret voir dire techniques alleged

in its First Amended Complaint, if any such documents exist.

                                       3.

      Please produce any and all documents demonstrating when Don
Keenan and/or Keenan’s Kids Foundation first developed the “Trade
Secret Voir Dire Techniques” that you allege Mr. Claggett
misappropriated.

RESPONSE TO REQUEST NO. 3: The Foundation objects to the demand

for “any and all documents” contained in Request No. 3 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

nonprivileged documents sufficient to demonstrate when Don Keenan and/or




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the Foundation first developed the trade secret voir dire techniques that it

alleges Claggett misappropriated, if any such documents exist.

                                       4.

      Please produce any and all documents supporting or relating to
your contention that Keenan’s Kids Foundation owns or has the right to
use the trade secrets alleged in your complaint, including any agreements
whereby Keenan’s Kids Foundation obtained ownership of the alleged
trade secrets or licensed the alleged trade secrets.

RESPONSE TO REQUEST NO. 4: The Foundation objects to the demand

for “any and all documents” contained in Request No. 4 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

nonprivileged documents sufficient to support its contention in its First




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Amended Complaint that the Foundation owns or has the right to use the trade

secrets alleged in its complaint, if any such documents exist.

                                       5.

      Please produce all documents which reflect, refer or relate to the
development of the trade secrets alleged in your Complaint.

RESPONSE TO REQUEST NO. 5: The Foundation objects to the demand

for “all documents” contained in Request No. 5 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

the production of these confidential documents except pursuant to a Protective

Order entered by the Court. The Foundation will produce nonprivileged




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documents sufficient to reflect or refer to the development of the trade secrets

alleged in its First Amended Complaint, if any such documents exist.

                                       6.

      Please produce all documents supporting, referring to or relating
to your allegations that Mr. Claggett misappropriated trade secrets.

RESPONSE TO REQUEST NO. 6: The Foundation objects to the demand

for “all documents” contained in Request No. 6 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

the production of these confidential documents except pursuant to a Protective

Order entered by the Court. The Foundation will produce nonprivileged




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documents sufficient to support or refer to its allegations that Claggett

misappropriated trade secrets, if any such documents exist.

                                       7.

       Please produce any and all documents referring to, reflecting or
relating to the “unique title phrases” referenced in paragraph 34 of your
complaint.

RESPONSE TO REQUEST NO. 7: The Foundation objects to the demand

for “any and all documents” contained in Request No. 7 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

the production of these confidential documents except pursuant to a Protective

Order entered by the Court. The Foundation will produce nonprivileged




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documents sufficient to refer to or reflect the unique title phrases referenced

in paragraph 34 of its First Amended Complaint, if any such documents exist.

                                       8.

       Please produce any and all documents describing referring to,
reflecting or relating to the “unique system of tried and tested techniques
and strategies” referenced in paragraph 34 of your complaint.

RESPONSE TO REQUEST NO. 8: The Foundation objects to the demand

for “any and all documents” contained in Request No. 8 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

the production of these confidential documents except pursuant to a Protective

Order entered by the Court. The Foundation will produce nonprivileged

documents sufficient to describe, refer to, or reflect the unique system of tried




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and tested techniques and strategies referenced in paragraph 34 of its First

Amended Complaint, if any such documents exist.

                                       9.

       Please produce any and all documents describing, referring to,
reflecting or relating to the strategies, systems, or methods referenced in
paragraph 34 of your complaint when you allege that Mr. Claggett
misappropriated strategies to: “elicit information about what motivates
a prospective juror.”

RESPONSE TO REQUEST NO. 9: The Foundation objects to the demand

for “any and all documents” contained in Request No. 9 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

the production of these confidential documents except pursuant to a Protective

Order entered by the Court. The Foundation will produce nonprivileged

documents sufficient to describe, refer to, or reflect the strategies that elicit

information about what motivates a prospective jury that Claggett is known



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to have wrongfully misappropriated that are referenced in paragraph 34 of its

First Amended Complaint, if any such documents exist.

                                       10.

       Please produce any and all documents describing, referring to,
reflecting or relating to the strategies, systems, or methods referenced in
paragraph 34 of your complaint which you allege that Mr. Claggett
misappropriated strategies to: “identify unfavorable jurors on matters
related to compensation.”

RESPONSE TO REQUEST NO. 10: The Foundation objects to the demand

for “any and all documents” contained in Request No. 10 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

the production of these confidential documents except pursuant to a Protective

Order entered by the Court. The Foundation will produce nonprivileged

documents sufficient to describe, refer to, or reflect the strategies that identify

unfavorable jurors on matters related to compensation that Claggett is known



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to have wrongfully misappropriated that are referenced in paragraph 34 of its

First Amended Complaint, if any such documents exist.

                                      11.

       Please produce any and all documents describing, referring to,
reflecting or relating to the strategies, systems, or methods referenced in
paragraph 34 of your complaint when you allege that Mr. Claggett
misappropriated strategies to: “assess juror empathy.”

RESPONSE TO REQUEST NO. 11: The Foundation objects to the demand

for “any and all documents” contained in Request No. 11 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

the production of these confidential documents except pursuant to a Protective

Order entered by the Court. The Foundation will produce nonprivileged

documents sufficient to describe, refer to, or reflect the strategies that assess

juror empathy that Claggett is known to have wrongfully misappropriated that




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are referenced in paragraph 34 of its First Amended Complaint, if any such

documents exist.

                                      12.

       Please produce any and all documents describing, referring to,
reflecting or relating to the strategies, systems, or methods referenced in
paragraph 34 of your complaint when you allege that Mr. Claggett
misappropriated strategies to: “select jurors through use of ‘spotters.”

RESPONSE TO REQUEST NO. 12: The Foundation objects to the demand

for “any and all documents” contained in Request No. 12 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

the production of these confidential documents except pursuant to a Protective

Order entered by the Court. The Foundation will produce nonprivileged

documents sufficient to describe, refer to, or reflect the strategies that select

jurors through use of “spotters” that Claggett is known to have wrongfully




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misappropriated that are referenced in paragraph 34 of its First Amended

Complaint, if any such documents exist.

                                   13.

       Please produce any and all documents, writings, and/or other
instructional material provided to attendees of the September 23-24, 2014
Keenan Ball Trial College voir dire course when teaching them the
strategies referenced in paragraph 34 of your complaint, specifically how
to: “(1) elicit information about what motivates a prospective juror, (2)
identify unfavorable jurors on matters related to compensation, (3) assess
juror empathy, and (4) select jurors through use of ‘spotters.”

RESPONSE TO REQUEST NO. 13:                The Foundation objects to the

production of the confidential documents, writings, and/or instructional

materials requested in Request No. 13 except pursuant to a Protective Order

entered by the Court. The Foundation will produce the documents, writings,

and/or instructional material provided to attendees of the September 23-24,

2014 Keenan Ball Trial College voir dire course alleged in paragraph 34 of

the First Amended Complaint, to the extent any such documents exist.

                                   14.

      Please produce any and all documents, writings, and/or other
instructional material given to instructors of the September 23-24, 2014
Keenan Ball Trial College voir dire course when training them on how to
teach the strategies referenced in paragraph 34 of your complaint,
specifically how to: “(1) elicit information about what motivates a
prospective juror, (2) identify unfavorable jurors on matters related to
compensation, (3) assess juror empathy, and (4) select jurors through use
of ‘spotters.”


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RESPONSE TO REQUEST NO. 14:                  The Foundation objects to the

production of the confidential documents, writings, and/or instructional

materials requested in Request No. 14 except pursuant to a Protective Order

entered by the Court. The Foundation will produce the documents, writings,

and/or instructional material provided to instructors of the September 23-24,

2014 Keenan Ball Trial College voir dire course alleged in paragraph 34 of

the First Amended Complaint, to the extent any such documents exist.

                                     15.

      Please produce any and all documents, writings, and/or other
instructional material shown and/or given to attendees of the September
23-24, 2014 Keenan Ball Trial College voir dire course when teaching
them about the “questioning strategies, strategies for analyzing
responses, and strategies for implementing what is learned from
questioning in order to select a favorable jury,” as referenced in
paragraph 36 of your complaint.

RESPONSE TO REQUEST NO. 15:                  The Foundation objects to the

production of the confidential documents, writings, and/or instructional

materials requested in Request No. 15 except pursuant to a Protective Order

entered by the Court. The Foundation will produce the documents, writings,

and/or instructional material given to attendees of the September 23-24, 2014

Keenan Ball Trial College voir dire course relating to “questioning strategies,

strategies for analyzing responses, and strategies for implementing what is



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learned from questioning in order to select a favorable jury,” to the extent any

such documents exist.

                                      16.

      Please produce any and all video or audio recordings shown and/or
given to attendees of the September 23-24, 2014 Keenan Ball Trial
College voir dire course when teaching them about the “questioning
strategies, strategies for analyzing responses, and strategies for
implementing what is learned from questioning in order to select a
favorable jury,” as referenced in paragraph 36 of your complaint.

RESPONSE TO REQUEST NO. 16: The Foundation objects to the demand

for “any and all video or audio recordings” contained in Request No. 16 as

overly broad and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ.

P. 34(b)(1)(A) because it does not specifically describe with reasonable

particularity the information that is being requested and is not proportional

and tailored specifically to the claims or defenses in this case. See, e.g.,

Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014

WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any

and all' documents . . . is inherently overbroad"). The Foundation further

objects to the production of these confidential documents except pursuant to

a Protective Order entered by the Court. The Foundation will produce video

or audio recordings sufficient to show the teaching of the “questioning

strategies, strategies for analyzing responses, and strategies for implementing


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what is learned from questioning in order to select a favorable jury in the

September 23-24, 2014 Keenan Ball Trial College voir dire course alleged in

paragraph 36 of the First Amended Complaint, to the extent any such video

or audio recordings exist.

                                     17.

      Please produce a list or document identifying any and all students
who attended the September 23-24, 2014 Keenan Ball Trial College voir
dire course.

RESPONSE TO REQUEST NO. 17:                   The Foundation objects to the

demand for “a list or document” contained in Request No. 17 to the extent it

demands the Foundation to create a responsive list or document for Claggett.

Rule 34 of the Federal Rules of Civil Procedure does not require a party to

create a document where none exist. The Foundation also objects to this

Request as not relevant, germane, or competent to any party’s claim or

defense. This Request is calculated to annoy and harass the Foundation, and

Claggett is merely trying to engage in a fishing expedition.

                                     18.

      Please produce a list or document identifying any and all
instructors of the September 23-24, 2014 Keenan Ball Trial College voir
dire course.




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RESPONSE TO REQUEST NO. 18:

      The Foundation objects to the demand for “a list or document”

contained in Request No. 17 to the extent it demands the Foundation to create

a responsive list or document for Claggett. Rule 34 of the Federal Rules of

Civil Procedure does not require a party to create a document where none

exist. The Foundation also objects to this Request as not relevant, germane,

or competent to any party’s claim or defense. This Request is calculated to

annoy and harass the Foundation, and Claggett is merely trying to engage in

a fishing expedition.

                                    19.

        Please produce any and all documents, writings, and/or other
instructional material provided to attendees of seminars hosted under the
Reptile name and/or seminars hosted under the Keenan/Ball name
between 2013 and the present, when teaching about the strategies
referenced in paragraph 34 of your complaint, specifically how to: “(1)
elicit information about what motivates a prospective juror, (2) identify
unfavorable jurors on matters related to compensation, (3) assess juror
empathy, and (4) select jurors through use of ‘spotters.”

RESPONSE TO REQUEST NO. 19: The Foundation objects to the demand

for “any and all documents, writings, and/or other instructional material”

provided to attendees of seminars hosted under the Reptile or Keenan/Ball

names over the last seven years contained in Request No. 19 as overly broad

and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)


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because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

the seven-year time period set forth in Request No. 19 as overly broad and

unduly burdensome. In addition, the Foundation objects to the production of

these confidential documents except pursuant to a Protective Order entered by

the Court. The Foundation will produce documents sufficient to show the

instructional material provided to attendees of seminars hosted under the

Reptile name and/or Keenan/Ball name when teaching about the strategies

referenced in paragraph 34 of its First Amended Complaint, to the extent such

documents exist.

                                      20.

      Please produce any and all documents, writings, and/or other
instructional material provided to attendees of Keenan Ball Trial College
and/or Keenan Trial Institute between 2013 and the present, when
teaching them the strategies referenced in paragraph 34 of your
complaint, specifically how to: “(1) elicit information about what
motivates a prospective juror, (2) identify unfavorable jurors on matters
related to compensation, (3) assess juror empathy, and (4) select jurors
through use of ‘spotters.”

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RESPONSE TO REQUEST NO. 20: The Foundation objects to the demand

for “any and all documents, writings, and/or other instructional material”

provided to attendees of Keenan/Ball Trial College and/or Keenan Trial

Institute over the last seven years contained in Request No. 20 as overly broad

and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

the seven-year time period set forth in Request No. 20 as overly broad and

unduly burdensome. In addition, the Foundation objects to the production of

these confidential documents except pursuant to a Protective Order entered by

the Court. The Foundation will produce documents sufficient to show the

material provided to attendees of Keenan Ball Trial College and/or Keenan




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Trial Institute when teaching the strategies referenced in paragraph 34 of its

First Amended Complaint, to the extent such documents exist.

                                      21.

      Please produce any and all documents, writings, and/or other
instructional material given to Keenan Ball Trial College and/or Keenan
Trial Institute instructors between 2013 and the present, when training
them on how to teach the strategies referenced in paragraph 34 of your
complaint, specifically how to: “(1) elicit information about what
motivates a prospective juror, (2) identify unfavorable jurors on matters
related to compensation, (3) assess juror empathy, and (4) select jurors
through use of ‘spotters.”

RESPONSE TO REQUEST NO. 21: The Foundation objects to the demand

for “any and all documents, writings, and/or other instructional material”

given to Keenan/Ball Trial College and/or Keenan Trial Institute instructors

over the last seven-years contained in Request No. 21 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

the seven-year time period set forth in Request No. 21 as overly broad and


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unduly burdensome. In addition, the Foundation objects to the production of

these confidential documents except pursuant to a Protective Order entered by

the Court. The Foundation will produce documents sufficient to show the

material given to instructors of Keenan Ball Trial College and/or Keenan Trial

Institute when training them how to teach the strategies referenced in

paragraph 34 of its First Amended Complaint, to the extent such documents

exist.

                                     22.

      Please produce any and all documents, writings, and/or other
instructional material shown and/or given to Keenan Ball Trial College
and/or Keenan Trial Institute attendees between 2013 and the present,
when teaching them about the “questioning strategies, strategies for
analyzing responses, and strategies for implementing what is learned
from questioning in order to select a favorable jury,” as referenced in
paragraph 36 of your complaint.

RESPONSE TO REQUEST NO. 22: The Foundation objects to the demand

for “any and all documents, writings, and/or other instructional material”

shown and/or given to Keen Ball Trial College and/or Keenan Trial Institute

attendees over the last seven years contained in Request No. 22 as overly

broad and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P.

34(b)(1)(A) because it does not specifically describe with reasonable

particularity the information that is being requested and is not proportional



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and tailored specifically to the claims or defenses in this case. See, e.g.,

Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014

WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any

and all' documents . . . is inherently overbroad"). The Foundation further

objects to the seven-year time period set forth in Request No. 22 as overly

broad and unduly burdensome. In addition, the Foundation objects to the

production of these confidential documents, writings, and/or instructional

material except pursuant to a Protective Order entered by the Court. The

Foundation will produce documents sufficient to show the material given to

attendees of Keenan Ball Trial College and/or Keen Trial Institute when

teaching them about the questing strategies, strategies for analyzing

responses, and strategies for implementing what is learned from questioning

in order to select a favorable jury as referenced in paragraph 36 of its First

Amended Complaint, to the extent such documents exist.

                                     23.

      Please produce any and all video or audio recordings shown and/or
given to Keenan Ball Trial College and/or Keenan Trial Institute
attendees between 2013 and the present, when teaching them about the
“questioning strategies, strategies for analyzing responses, and strategies
for implementing what is learned from questioning in order to select a
favorable jury,” as referenced in paragraph 36 of your complaint.




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RESPONSE TO REQUEST NO. 23: The Foundation objects to the demand

for “any and all video or audio recordings” shown and/or given to attendees

of Keenan Ball Trial College and/or Keenan Trial Institute over the last seven

years contained in Request No. 23 as overly broad and impermissible under

Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A) because it does not

specifically describe with reasonable particularity the information that is

being requested and is not proportional and tailored specifically to the claims

or defenses in this case. See, e.g., Gropper v. David Ellis Real Estate, L.P.,

No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10,

2014) (finding that a "request for 'any and all' documents . . . is inherently

overbroad"). The Foundation further objects to the seven-year time period set

forth in Request No. 23 as overly broad and unduly burdensome. In addition,

the Foundation objects to the production of these confidential documents

except pursuant to a Protective Order entered by the Court. The Foundation

will produce video or audio recordings sufficient to show the teaching of the

questioning strategies, strategies for analyzing responses, and strategies for

implementing what is learned from questioning in order to select a favorable




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jury as referenced in paragraph 36 of the First Amended Complaint, to the

extent any such video or audio recordings exist.

                                     24.

      Please produce any and all documents, writings, and/or other
instructional material shown and/or given to Keenan Ball Trial College
and/or Keenan Trial Institute instructors between 2013 and the present,
when training them on how to teach about the “questioning strategies,
strategies for analyzing responses, and strategies for implementing what
is learned from questioning in order to select a favorable jury,” as
referenced in paragraph 36 of your complaint.

RESPONSE TO REQUEST NO. 24: The Foundation objects to the demand

for “any and all documents, writings, and/or other instructional material”

shown and/or given to Keenan Ball Trial College and/or Keenan Trial Institute

instructors over the last seven years contained in Request No. 24 as overly

broad and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P.

34(b)(1)(A) because it does not specifically describe with reasonable

particularity the information that is being requested and is not proportional

and tailored specifically to the claims or defenses in this case. See, e.g.,

Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014

WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any

and all' documents . . . is inherently overbroad"). In addition, the Foundation

objects to the seven-year time period of this Request as overbroad and unduly



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burdensome. The Foundation further objects to the production of these

confidential documents except pursuant to a Protective Order entered by the

Court. The Foundation will produce representative materials sufficient to

show what is given to instructors of Keenan Ball Trial College and/or Keenan

Trial Institute when training them on how to teach the strategies referenced in

paragraph 36 of the First Amended Complaint, to the extent such materials

exist.

                                     25.

      Please produce any and all video or audio recordings shown and/or
given to Keenan Ball Trial College and/or Keenan Trial Institute
instructors between 2013 and the present, when training them on how to
teach about the “questioning strategies, strategies for analyzing
responses, and strategies for implementing what is learned from
questioning in order to select a favorable jury,” as referenced in
paragraph 36 of your complaint.

RESPONSE TO REQUEST NO. 25: The Foundation objects to the demand

for “any and all video or audio recordings” shown and/or given to Keenan

Ball Trial College and/or Keenan Trial Institute documents” over the last

seven years contained in Request No. 25 as overly broad and impermissible

under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A) because it does

not specifically describe with reasonable particularity the information that is

being requested and is not proportional and tailored specifically to the claims



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or defenses in this case. See, e.g., Gropper v. David Ellis Real Estate, L.P.,

No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10,

2014) (finding that a "request for 'any and all' documents . . . is inherently

overbroad"). The Foundation further objects to the seven-year time period set

forth in Request No. 25 as overly broad and unduly burdensome. In addition,

the Foundation objects to the production of these confidential documents

except pursuant to a Protective Order entered by the Court. The Foundation

will produce representative video or audio recordings given to instructors of

Keenan Ball Trial College and/or Keenan Trial Institute sufficient to show

how they are trained to teach about the questioning strategies, strategies for

analyzing responses, and strategies for implementing what is learned from

questioning in order to select a favorable jury referenced in paragraph 36 of

the First Amended Complaint, to the extent such video or audio recordings

exist.

                                     26.

     Please produce a list or document identifying any and all students
who have attended any voir dire course at the Keenan Ball Trial College
and/or the Keenan Trial Institute between 2013 and the present.

RESPONSE TO REQUEST NO. 26: The Foundation objects to the demand

for a “list or document” identifying every student who attended a voir dire



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course at the Keenan Ball Trial College and/or the Keenan Trial Institute over

the last seven years contained in Request No. 26 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

the seven-year time period set forth in Request No. 26 as overly broad and

unduly burdensome. In addition, the Foundation objects to the demand for “a

list or document” contained in Request No. 26 to the extent it demands the

Foundation to create a responsive list or document for Claggett. Rule 34 of

the Federal Rules of Civil Procedure does not require a party to create a

document where none exist. This Request is calculated to annoy and harass

the Foundation, and Claggett is merely trying to engage in a fishing

expedition.

                                      27.

     Please produce a list or document identifying any and all students
who have attended any advanced voir dire course at the Keenan Ball

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Trial College and/or the Keenan Trial Institute between 2013 and the
present.

RESPONSE TO REQUEST NO. 27: The Foundation objects to the demand

for a “list or document” identifying every student who attended any advanced

voir dire course at the Keenan Ball Trial College and/or the Keenan Trial

Institute over the last seven years contained in Request No. 27 as overly broad

and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

the seven-year time period set forth in Request No. 27 as overly broad and

unduly burdensome. The Foundation also objects to this Request as not

relevant, germane, or competent to any party’s claim or defense. In addition,

the Foundation objects to the demand for “a list or document” contained in

Request No. 27 to the extent it demands the Foundation to create a responsive

list or document for Claggett. Rule 34 of the Federal Rules of Civil Procedure

does not require a party to create a document where none exist. This Request

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is calculated to annoy and harass the Foundation, and Claggett is merely trying

to engage in a fishing expedition.

                                      28.

      Please produce a list or document identifying any and all
instructors of any voir dire course at the Keenan Ball Trial College
and/or the Keenan Trial Institute between 2013 and the present.

RESPONSE TO REQUEST NO. 28:                    The Foundation objects to the

demand for a “list or document” identifying every instructor of any voir dire

course at the Keenan Ball Trial College and/or the Keenan Trial Institute over

the last seven years contained in Request No. 28 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

the seven-year time period set forth in Request No. 28 as overly broad and

unduly burdensome. In addition, the Foundation objects to the demand for “a

list or document” contained in Request No. 28 to the extent it demands the



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Foundation to create a responsive list or document for Claggett. Rule 34 of

the Federal Rules of Civil Procedure does not require a party to create a

document where none exist. This Request is calculated to annoy and harass

the Foundation, and Claggett is merely trying to engage in a fishing

expedition.

                                      29.

      Please produce a list or document identifying any and all
instructors of any advanced voir dire course at the Keenan Ball Trial
College and/or the Keenan Trial Institute between 2013 and the present.

RESPONSE TO REQUEST NO. 29:                    The Foundation objects to the

demand for a “list or document” identifying every instructor of any advanced

voir dire course at the Keenan Ball Trial College and/or the Keenan Trial

Institute over the last seven years contained in Request No. 29 as overly broad

and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to



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the demand for “a list or document” contained in Request No. 29 to the extent

it demands the Foundation to create a responsive list or document for Claggett.

Rule 34 of the Federal Rules of Civil Procedure does not require a party to

create a document where none exist. This Request is calculated to annoy and

harass the Foundation, and Claggett is merely trying to engage in a fishing

expedition.


                                     30.

       Please produce copies of any and all articles or blogs Don Keenan
has written or been quoted in regarding, discussing, referring to, relating
to, and/or describing any aspect of voir dire, including those disseminated
to the Keenan Trial Blog.

RESPONSE TO REQUEST NO. 30: The Foundation objects to the demand

in Request No. 30 for copies of “any and all articles or blogs” Mr. Keenan has

written relating to any aspect of voir dire as overly broad and impermissible

under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A) because it does

not specifically describe with reasonable particularity the information that is

being requested and is not proportional and tailored specifically to the claims

or defenses in this case. See, e.g., Gropper v. David Ellis Real Estate, L.P.,

No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10,

2014) (finding that a "request for 'any and all' documents . . . is inherently



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overbroad"). The Foundation further objects to the absence of a time frame

in Request No. 30 as overly broad and unduly burdensome given that the

Foundation was founded over twenty-plus years ago and would require a

search over a period of decades for articles or blogs Don Keenan has written

or been quoted in regarding, discussing, referring to, relating to, and/or

describing any aspect of voir dire, including those disseminated to the Keenan

Trial Blog, to ascertain whether or not those blogs, etc. even related to the

specific trade secrets being asserted in this lawsuit.       This Request is

specifically calculated to annoy and harass the Foundation, and Claggett is

merely trying to engage in a fishing expedition.

                                     31.

      Any and all documents, including articles, blogs, transcripts, CLE
materials and course materials, discussing voir dire that were prepared
by, disseminated by and/or reflecting quotes from anyone who has been
or is an employee, officer, director or instructor for Keenan’s Kids
Foundation.

RESPONSE TO REQUEST NO. 31: The Foundation objects to the demand

in Request No. 31 for “any and all documents, including articles, blogs,

transcripts, CLE materials and course materials, discussing voir dire that were

prepared by, disseminated by and/or reflecting quotes from anyone”

associated with the Foundation as overly broad and impermissible under Fed.



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R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A) because it does not

specifically describe with reasonable particularity the information that is

being requested and is not proportional and tailored specifically to the claims

or defenses in this case. See, e.g., Gropper v. David Ellis Real Estate, L.P.,

No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10,

2014) (finding that a "request for 'any and all' documents . . . is inherently

overbroad"). The Foundation further objects to the absence of a time frame

in Request No. 31 as overly broad and unduly burdensome given that the

Foundation was founded over twenty-plus years ago and would require a

search over a period of decades for documents, articles, blogs, transcripts,

CLE materials and course materials, to ascertain whether or not those blogs,

etc. even related to the specific trade secrets being asserted in this lawsuit.

This Request is specifically calculated to annoy and harass the Foundation,

and Claggett is merely trying to engage in a fishing expedition.

                                     32.

      Please produce any and all documents in which you communicated
the trade secrets you allege in your complaint to persons outside of
Keenan’s Kids Foundation.

RESPONSE TO REQUEST NO. 32: The Foundation objects to the demand

for “any and all documents” contained in Request No. 32 as overly broad and



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impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce such

documents, if any exist.

                                      33.

       Please produce any and all documents that show, reflect, refer or
relate to the steps you have taken to protect your alleged trade secrets, as
alleged in paragraph 42 of your complaint.

RESPONSE TO REQUEST NO. 33: The Foundation objects to the demand

for “any and all documents” contained in Request No. 33 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'



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documents . . . is inherently overbroad"). The Foundation will produce

documents sufficient to show the steps that it has taken to protect its trade

secrets as alleged in paragraph 42 of its First Amended Complaint, if any such

documents exist.

                                      34.

      Please produce any and all documents showing, reflecting,
referring to, or relating to the steps you took to vet Mr. Claggett before
allowing him to attend any Keenan Ball Trial College course.

RESPONSE TO REQUEST NO. 34: The Foundation objects to the demand

for “any and all documents” contained in Request No. 34 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

documents sufficient to show the steps it took to vet Claggett before allowing




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him at attend any Keenan Ball Trial College course, if any such documents

exist.

                                      35.

      Please produce any and all documents showing, reflecting,
referring to, or relating to the steps you took to vet Mr. Claggett before
allowing him to become an instructor at the Keenan Ball Trial College.

RESPONSE TO REQUEST NO. 35: The Foundation objects to the demand

for “any and all documents” contained in Request No. 35 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

documents sufficient to show the steps it took to vet Claggett before allowing




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him to become an instructor at the Keenan Ball Trial College course, if any

such documents exist.

                                      36.

      Please produce any and all documents showing, reflecting,
referring to, or relating to the steps you took to vet Mr. Claggett before
allowing him to become a dean of the Keenan Ball Trial College.

RESPONSE TO REQUEST NO. 36: The Foundation objects to the demand

for “any and all documents” contained in Request No. 36 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

documents sufficient to show the steps it took to vet Claggett before allowing




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him to become an instructor a dean of the Keenan Ball Trial College, if any

such documents exist.

                                      37.

      Please produce any and all documents showing, reflecting,
referring to, or relating to the steps you took to vet Mr. Claggett before
allowing him to become a moderator of the Nevada Reptile Listserv.

RESPONSE TO REQUEST NO. 37: The Foundation objects to the demand

for “any and all documents” contained in Request No. 37 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

documents sufficient to show the steps it took to vet Claggett before allowing

him to become an instructor a moderators of the Nevada Reptile Listserve, if

any such documents exist.

                                      38.

      Please produce a copy of any agreement, including any
“confidentiality agreement”, you allege Mr. Claggett signed when


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attending the September 2014 voir dire course stating he would not
disclose confidential and proprietary information.

RESPONSE TO REQUEST NO. 38:                The Foundation will produce any

agreements reduced to writing that Mr. Claggett signed when attending the

September 2014 voir dire course.

                                     39.

     Please produce any and all agreements, including confidentiality
agreements, that attorneys attending workshops or workdays at Don
Keenan’s beach house entered into and/or are required to sign.

RESPONSE TO REQUEST NO. 39: The Foundation objects to the demand

for “any and all agreements, including confidential agreements, that attorneys

attending workshops or workdays” were required to sign contained in Request

No. 39 as overly broad and impermissible under Fed. R. Civ. P. 26(b) and Fed.

R. Civ. P. 34(b)(1)(A) because it does not specifically describe with

reasonable particularity the information that is being requested and is not

proportional and tailored specifically to the claims or defenses in this case.

See, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)

(JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a

"request for 'any and all' documents . . . is inherently overbroad"). The

Foundation further objects to both the lack of a time-period and the request

for agreements pertaining to attorneys other than Mr. Claggett in Request No.


                                     40
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39 as overly broad and unduly burdensome. Foundation will produce a copy

of any agreement reduced to writing that Claggett entered into or was required

to sign when attending workshops or workdays at Mr. Keenan’s beach house

the September 2014 voir dire course, if any such written agreement exists.

                                     40.

       Please produce any and all agreements, including confidentiality
agreements, you required Mr. Claggett to sign and/or that he entered into
when he attended workshops or workdays at Don Keenan’s beach house,
as alleged in paragraph 61 of your complaint.

RESPONSE TO REQUEST NO. 40: The Foundation will produce a copy

of any agreement reduced to writing that Claggett entered into or was required

to sign when attending workshops or workdays at Mr. Keenan’s beach house

as referenced in paragraph 61 of the First Amended Complaint, if any such

written agreement exists.

                                     41.

       Please produce any and all documents reflecting, referring to, or
relating to the steps you took to protect any trade secrets you allege were
shared and entrusted to Mr. Claggett at Don Keenan’s beach house, as
alleged in paragraph 61 of your complaint.

RESPONSE TO REQUEST NO. 41: The Foundation objects to the demand

for “any and all documents” contained in Request No. 41 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

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information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad").      The Foundation will produce

documents sufficient to show the steps it took to protect trade secrets shared

or entrusted to Claggett, to the extent the documents exist.

                                      42.

      Please produce any and all documents supporting and/or relating
to paragraph 63 of your complaint.

RESPONSE TO REQUEST NO. 42: The Foundation objects to the demand

for “any and all documents supporting and/or relating to paragraph 63 of your

complaint” contained in Request No. 42 as overly broad and impermissible

under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A) because it does

not specifically describe with reasonable particularity the information that is

being requested and is not proportional and tailored specifically to the claims

or defenses in this case. See, e.g., Gropper v. David Ellis Real Estate, L.P.,

No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10,

2014) (finding that a "request for 'any and all' documents . . . is inherently

overbroad"). The Foundation will produce documents sufficient to support its


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allegation in paragraph 63 of its First Amended Complaint that Claggett

participated in a vote to restrict blog access, if any such documents exist.

                                      43.

     Please produce any and all documents supporting or relating to
your contention in paragraph 64 of your complaint that “the Nevada
LISTSERV” was “limited only to individuals who first took the Keenan’s
Kids Voir Dire Course.”

RESPONSE TO REQUEST NO. 43: The Foundation objects to the demand

for “any and all documents” contained in Request No. 43 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

documents sufficient to support its allegation in paragraph 64 of its Amended

Complaint that access to the Nevada LISTSERVE was limited only to




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individuals who first took the Keenan’s Kids Voir Direct Course, if any such

documents exist.

                                      44.

       Please produce any and all agreements, including confidentiality
agreements you required Mr. Claggett to sign when Mr. Claggett’s law
firm brought Don Keenan and/or Don Keenan’s law firm in as a
consultant and later as co-counsel on the Natasha Smith v. Flamingo case
in the Eighth Judicial District Court, State of Nevada.

RESPONSE TO REQUEST NO. 44: The Foundation objects to the demand

for “any and all agreements” contained in Request No. 44 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014). The Foundation further objects to Request No.

44 as not relevant, germane, or competent to any party’s claim or defense,

considering the importance of the issues at stake in the action, the amount in

controversy, the parties’ relative access to relevant information, the parties’

resources, the importance of the discovery in resolving the issues, and whether

the burden or expense of the proposed discovery outweighs its likely benefit.



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This Request is specifically calculated to annoy and harass the Foundation,

and Claggett is merely trying to engage in a fishing expedition.

                                      45.

      Please produce any and all agreements, including confidentiality
agreements, you required Mr. Claggett to sign as a member of the Nevada
Reptile Listserv.

RESPONSE TO REQUEST NO. 45: The Foundation objects to the demand

for “any and all agreements” contained in Request No. 45 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce any

confidentiality agreements reduced to writing that Mr. Claggett signed as

member of the Nevada Reptile Listserv, to the extent they exist.

                                      46.

     Please produce any and all agreements, including confidentiality
agreements, you required Mr. Claggett to sign as moderator of the
Nevada Reptile Listserv.



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RESPONSE TO REQUEST NO. 46:                   The Foundation objects to the

demand for “any and all agreements” contained in Request No. 46 as overly

broad and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P.

34(b)(1)(A) because it does not specifically describe with reasonable

particularity the information that is being requested and is not proportional

and tailored specifically to the claims or defenses in this case. See, e.g.,

Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014

WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any

and all' documents . . . is inherently overbroad"). The Foundation will produce

any confidentiality agreements reduced to writing that Mr. Claggett signed as

moderator of the Nevada Reptile Listserv, to the extent they exist.

                                     47.

      Please produce any and all agreements, including confidentiality
agreements you required Mr. Claggett to sign as a student of the Keenan
Ball Trial College and/or Keenan Trial Institute.

RESPONSE TO REQUEST NO. 47: The Foundation objects to the demand

for “any and all agreements” contained in Request No. 47 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored



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specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce any

confidentiality agreements reduced to writing that Mr. Claggett signed as a

student of the Keenan Ball Trial College and/or Keenan Trial Institute, to the

extent they exist.

                                      48.

     Please produce any and all agreements, including confidentiality
agreements, you required Mr. Claggett to sign as an instructor of the
Keenan Ball Trial College and/or Keenan Trial Institute.

RESPONSE TO REQUEST NO. 48: The Foundation objects to the demand

for “any and all agreements” contained in Request No. 48 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce any



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confidentiality agreements reduced to writing that Mr. Claggett signed as an

instructor of Keenan Ball Trial College and/or Keenan Trial Institute, to the

extent they exist.

                                      49.

      Please produce any and all agreements, including confidentiality
agreements you required Mr. Claggett to sign as a dean of the Keenan
Ball Trial College and/or Keenan Trial Institute.

RESPONSE TO REQUEST NO. 49: The Foundation objects to the demand

for “any and all agreements” contained in Request No. 49 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014).           The Foundation will produce any

confidentiality agreements reduced to writing that Mr. Claggett signed as a

dean of the Keenan Ball Trial College and/or Keenan Trial Institute, to the

extent they exist.

                                      50.

     Please produce any and all agreements, including confidentiality
agreements you required Mr. Claggett to sign when you invited him on a


                                      48
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European cruise in 2016 with Mindy Bish, Benjamin Boscolo, and Ryan
Skiver, during which you claimed to have discussed voir dire, and codes.

RESPONSE TO REQUEST NO. 50: The Foundation objects to the demand

for “any and all agreements” contained in Request No. 50 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce any

confidentiality agreements reduced to writing that Mr. Claggett signed when

invited on a European cruise in 2016, to the extent they exist.

                                      51.

     Please produce any and all communications from Keenan’s Kids
Foundation to Mr. Claggett regarding trade secrets being taught at the
Keenan Ball Trial College and/or Keenan Trial Institute.

RESPONSE TO REQUEST NO. 51: The Foundation objects to the demand

for “any and all communications” contained in Request No. 51 as overly broad

and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the


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information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

communications from the Foundation to Mr. Claggett sufficient to show the

asserted trade secrets being taught at the Keenan Ball Trial College and/or

Keenan Trial Institute, if they exist.

                                         52.

      Please produce any and all communications from Don Keenan to
Mr. Claggett regarding trade secrets being taught at the Keenan Ball
Trial College and/or Keenan Trial Institute.

RESPONSE TO REQUEST NO. 52: The Foundation objects to the demand

for “any and all communications” contained in Request No. 52 as overly broad

and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'



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documents . . . is inherently overbroad"). The Foundation will produce

communications from Mr. Keenan to Mr. Claggett sufficient to show the

asserted trade secrets being taught at the Keenan Ball Trial College and/or

Keenan Trial Institute, if they exist.

                                         53.

      Please produce any and all communications from anyone
employed by or associated with the Keenan’s Kids Foundation to Mr.
Claggett regarding trade secrets being taught at the Keenan Ball Trial
College and/or Keenan Trial Institute.

RESPONSE TO REQUEST NO. 53: The Foundation objects to the demand

for “any and all communications” contained in Request No. 53 as overly broad

and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce




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communications sufficient to show the asserted trade secrets being taught at

the Keenan Ball Trial College and/or Keenan Trial Institute.

                                      54.

     Please produce any and all communications from anyone
employed by or associated with the Keenan Ball Trial College and/or
Keenan Trial Institute to Mr. Claggett regarding trade secrets being
taught at the Keenan Ball Trial College and/or Keenan Trial Institute.

RESPONSE TO REQUEST NO. 54: The Foundation objects to the demand

for “any and all communications” contained in Request No. 54 as overly broad

and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

communications from employees or agents of Keenan Ball Trial College or

Keenan Trial Institute to Mr. Claggett sufficient to show the asserted trade




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secrets being taught at the Keenan Ball Trial College and/or Keenan Trial

constitute, if they exist.

                                      55.

     Please produce any and all communications from anyone
employed by or associated with the Keenan Law Firm to Mr. Claggett
regarding trade secrets being taught at the Keenan Ball Trial College
and/or Keenan Trial Institute.

RESPONSE TO REQUEST NO. 55: The Foundation objects to the demand

for “any and all documents” contained in Request No. 55 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

communications from employees or agents of Keenan Law Firm to Mr.




                                      53
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Claggett sufficient to show the asserted trade secrets being taught at the

Keenan Ball Trial College and/or Keenan Trial constitute, if they exist.

                                      56.

      Please produce any and all documents showing that Mr. Claggett
was an employee of Keenan’s Kids Foundation, as alleged in paragraph
66 of your complaint.

RESPONSE TO REQUEST NO. 56: The Foundation objects to the demand

for “any and all documents” contained in Request No. 56 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

documents sufficient to show that Claggett participated in the referenced

discussions as an employee of the Foundation, if any such documents exist.




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                                      57.

      Please produce any and all documents that support or related to
the factual allegations in paragraph 66 of your complaint.

RESPONSE TO REQUEST NO. 57: The Foundation objects to the demand

for “any and all documents” contained in Request No. 57 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

documents sufficient to support the allegations in paragraph 66 of the First

Amended Complaint that Claggett participated in the referenced discussions

wherein confidentiality was reiterated, if any such documents exist.

                                      58.

     Please produce any and all communications between Don Keenan
and David Hoey in 2018 regarding or discussing in any way, Mr.
Claggett’s resignation as an instructor of the Keenan Ball College and/or
Keenan Trial Institute.



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RESPONSE TO REQUEST NO. 58: The Foundation objects to the demand

for “any and all communications” contained in Request No. 58 as overly broad

and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

documents sufficient to show the reasons for Mr. Claggett’s resignation as an

instructor of the Keenan Ball College and/or Keenan Trial Institute.

                                      59.

     Please produce any and all communications between Don Keenan
and Mindy Bish in 2018 regarding or discussing in any way, Mr.
Claggett’s resignation as an instructor of the Keenan Ball College and/or
Keenan Trial Institute.

RESPONSE TO REQUEST NO. 59: The Foundation objects to the demand

for “any and all communications” contained in Request No. 59 as overly broad

and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored


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specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

documents sufficient to show the reasons for Mr. Claggett’s resignation as an

instructor of the Keenan Ball College and/or Keenan Trial Institute.

                                      60.

     Please produce any and all communications between Don Keenan
and David Hoey regarding or discussing in any way, Mr. Claggett’s
removal as dean of the Keenan Ball College Damages course.

RESPONSE TO REQUEST NO. 60: The Foundation objects to the demand

for “any and all communications” contained in Request No. 60 as overly broad

and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce




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documents sufficient to show the reasons for Mr. Claggett’s removal as dean

of the Keenan Ball College Damages course, if they exist.

                                      61.

     Please produce any and all communications between Don Keenan
and Mindy Bish regarding or discussing in any way, Mr. Claggett’s
removal as dean of the Keenan Ball College Damages course.

RESPONSE TO REQUEST NO. 61: The Foundation objects to the demand

for “any and all communications” contained in Request No. 61 as overly broad

and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

documents sufficient to show the reasons for Mr. Claggett’s removal as dean

of the Keenan Ball College Damages course, if they exist.

                                      62.

      Please produce any and all communications between Don Keenan
and any employee of Keenan’s Kids Foundation regarding or discussing
in any way, Mr. Claggett’s removal as dean of the Keenan Ball College
Damages course.


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RESPONSE TO REQUEST NO. 62: The Foundation objects to the demand

for “any and all communications” contained in Request No. 62 as overly broad

and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

documents sufficient to show the reasons for Mr. Claggett’s removal as dean

of the Keenan Ball College Damages course, if they exist.

                                      63.

      Please produce any and all communications between Don Keenan
and any person other than David Hoey or Mindy Bish regarding or
discussing in any way, Mr. Claggett’s removal as dean of the Keenan Ball
College Damages course.

RESPONSE TO REQUEST NO. 63: The Foundation objects to the demand

for “any and all communications” contained in Request No. 63 as overly broad

and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored


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specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

documents sufficient to show the reasons for Mr. Claggett’s removal as dean

of the Keenan Ball College Damages course, if they exist.

                                      64.

      Please produce any and all communications between any
employees of Keenan’s Kids Foundation in 2018 regarding or discussing
in any way, Mr. Claggett’s resignation as an instructor of the Keenan Ball
College and/or Keenan Trial Institute.

RESPONSE TO REQUEST NO. 64: The Foundation objects to the demand

for “any and all communications” contained in Request No. 64 as overly broad

and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

documents sufficient to show the reasons for Mr. Claggett’s resignation as an


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instructor of the Keenan Ball College and/or Keenan Trial Institute, if they

exist.

                                      65.

      Please produce any and all communications between any board
members of Keenan’s Kids Foundation in 2018 regarding or discussing
in any way, Mr. Claggett’s resignation as an instructor of the Keenan Ball
College and/or Keenan Trial Institute.

RESPONSE TO REQUEST NO. 65: The Foundation objects to the demand

for “any and all communications” contained in Request No. 65 as overly broad

and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

documents sufficient to show the reasons for Mr. Claggett’s resignation as an




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instructor of the Keenan Ball College and/or Keenan Trial Institute, if they

exist.

                                        66.

      Please produce a sample copy of any and all versions of the
confidentiality agreements alleged in paragraph 70 of your complaint.

RESPONSE TO REQUEST NO. 66: The Foundation objects to the demand

for “any and all versions of the confidentiality agreements” contained in

Request No. 66 as overly broad and impermissible under Fed. R. Civ. P. 26(b)

and Fed. R. Civ. P. 34(b)(1)(A) because it does not specifically describe with

reasonable particularity the information that is being requested and is not

proportional and tailored specifically to the claims or defenses in this case.

See, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)

(JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a

"request for 'any and all' documents . . . is inherently overbroad"). The

Foundation further objects to Request No. because it contains no time period

and therefore overbroad and unduly burdensome.         The Foundation will

produce a sample copy of any versions of the confidentiality agreement during

the time period that Mr. Claggett was a student or instructor for the

Foundation, to the extent they exist.




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                                      67.

      Please produce any and all documents supporting, reflecting,
referring to or relating to the factual allegations in paragraph 75 of your
complaint.

RESPONSE TO REQUEST NO. 67: The Foundation objects to the demand

for “any and all documents” contained in Request No. 67 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

documents sufficient to show that Claggett was privy to other trade secrets

and confidential information of the Keenan Trial Institute, including those

referenced in paragraph 75 of the First Amended Complaint, to the extent they

exist.




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                                      68.

      Please produce any and all documents showing, reflecting,
referring to and/or relating to the “proprietary and confidential Trade
Secret Voir Dire Techniques” you allege Mr. Claggett taught and offered
through the Trojan Horse, as alleged in paragraph 76 of your complaint.

RESPONSE TO REQUEST NO. 68: The Foundation objects to the demand

for “any and all documents” contained in Request No. 68 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation will produce

documents sufficient to show the “proprietary and confidential Trade Secret

Voir Dire Techniques” that Mr. Claggett taught and offered through the

Trojan Horse, as alleged in paragraph 76 of the First Amended Complaint, if

they exist.




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                                          69.

      Please produce any and all documents supporting and/or relating
to the allegation in paragraph 84 of your complaint that Trojan Horse
sold recordings of “Claggett’s Voir Dire School” to residents of Georgia.

RESPONSE TO REQUEST NO. 69: The Foundation objects to the demand

for “any and all documents” contained in Request No. 69 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

Request No. 69 to the extent it seeks documents protected by the attorney-

client privilege, attorney work product doctrine, or any other applicable

privilege. The Foundation will produce nonprivileged documents sufficient

to show that Trojan Horse sold recordings of “Claggett’s Voir Dire School”

to residents of Georgia, if they exist.




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                                      70.

       Please produce any and all documents evidence supporting and/or
relating to the allegation that Keenan’s Kids Foundation “has sustained
and will continue to sustain actual losses resulting from Defendant’s
wrongful misappropriation” as alleged in paragraph 106 of your
complaint.

RESPONSE TO REQUEST NO. 70: The Foundation objects to the demand

for “any and all documents” contained in Request No. 70 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

Request No. 70 to the extent it seeks documents protected by the attorney-

client privilege, attorney work product doctrine, or any other applicable

privilege. The Foundation will produce nonprivileged documents sufficient

to show the Foundation “has sustained and will continue to sustain actual




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losses resulting from Defendant’s wrongful misappropriation” as alleged in

paragraph 106 of the First Amended Complaint, if they exist.

                                      71.

      Please produce any and all documents reflecting, referring to
and/or relating to the amount of “actual losses” as alleged in paragraph
106 of your complaint.

RESPONSE TO REQUEST NO. 71: The Foundation objects to the demand

for “any and all documents” contained in Request No. 71 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

Request No. 71 to the extent it seeks documents protected by the attorney-

client privilege, attorney work product doctrine, or any other applicable

privilege. The Foundation will produce nonprivileged documents sufficient




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to show the Foundation the amount of its “actual losses” alleged in paragraph

106 of the First Amended Complaint, if they exist.

                                      72.

     Please produce all documents supporting, reflecting, referring to
and/or relating any damages you are claiming.

RESPONSE TO REQUEST NO. 72: The Foundation objects to the demand

for “any and all documents” contained in Request No. 72 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

Request No. 72 to the extent it seeks documents protected by the attorney-

client privilege, attorney work product doctrine, or any other applicable




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privilege. The Foundation will produce nonprivileged documents sufficient

to show the damages it is claiming, if they exist.

                                      73.

      Please produce any and all agreements you have with David Ball
and/or any entities owned by Mr. Ball regarding ownership of material
printed in Reptile: The 2009 Manual of the Plaintiff’s Revolution.

RESPONSE TO REQUEST NO. 73: The Foundation objects to the demand

for “any and all documents” contained in Request No. 73 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

Request No. 73 as not relevant, germane, or competent to any party’s claim

or defense and proportional to the needs of this trade secret case, considering

the importance of the issues at stake in the action, the amount in controversy,

the parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden



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or expense of the proposed discovery outweighs its likely benefit. This

Request is calculated to annoy and harass the Foundation, and Claggett is

merely trying to engage in a fishing expedition.

                                      74.

      Please produce any and all agreements you have with David Ball
and/or any entities owned by Mr. Ball regarding ownership of material
presented by you and/or Mr. Ball at any seminar hosted under the Reptile
name from 2015 through the present.

RESPONSE TO REQUEST NO. 74: The Foundation objects to the demand

for “any and all agreements” contained in Request No. 74 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

Request No. 74 as not relevant, germane, or competent to any party’s claim

or defense and proportional to the needs of this trade secret case, considering

the importance of the issues at stake in the action, the amount in controversy,

the parties’ relative access to relevant information, the parties’ resources, the


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importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit. This

Request is calculated to annoy and harass the Foundation, and Claggett is

merely trying to engage in a fishing expedition.

                                      75.

     Please produce any and all agreements you have with David Ball
and/or any entities owned by Mr. Ball regarding how any monies earned
under the Reptile name are split between you and Mr. Ball.

RESPONSE TO REQUEST NO. 75: The Foundation objects to the demand

for “any and all agreements” contained in Request No. 75 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

Request No. 75 as not relevant, germane, or competent to any party’s claim

or defense and proportional to the needs of this trade secret case, considering

the importance of the issues at stake in the action, the amount in controversy,



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the parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit. This

Request is calculated to annoy and harass the Foundation, and Claggett is

merely trying to engage in a fishing expedition.

                                      76.

     Please produce any and all agreements between you and David Ball
and/or any entities owned by Mr. Ball with respect to ownership of the
Keenan Ball Trial College.

RESPONSE TO REQUEST NO. 76: The Foundation objects to the demand

for “any and all agreements” contained in Request No. 76 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to

Request No. 76 as not relevant, germane, or competent to any party’s claim

or defense and proportional to the needs of this trade secret case, considering



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the importance of the issues at stake in the action, the amount in controversy,

the parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit. This

Request is calculated to annoy and harass the Foundation, and Claggett is

merely trying to engage in a fishing expedition.

                                      77.

      Please produce any and all agreements between you and David Ball
and/or any entities owned by Mr. Ball in which Mr. Ball allowed you to
teach the trial techniques, opening statement techniques or methods,
and/or voir dire techniques or methods set forth in any of his
publications, including but not limited to Damages 3, at the Keenan Ball
Trial College.

RESPONSE TO REQUEST NO. 77: The Foundation objects to the demand

for “any and all agreements” contained in Request No. 77 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'

documents . . . is inherently overbroad"). The Foundation further objects to


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Request No. 77 as not relevant, germane, or competent to any party’s claim

or defense and proportional to the needs of this trade secret case, considering

the importance of the issues at stake in the action, the amount in controversy,

the parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit. This

Request is calculated to annoy and harass the Foundation, and Claggett is

merely trying to engage in a fishing expedition.

                                      78.

       Please produce any and all documents describing, referring to,
reflecting, or relating to ownership of the material presented in The
Reptile Voir Dire: Keenan/Ball Method of General and Case Specific
Voir Dire DVD.

RESPONSE TO REQUEST NO. 78: The Foundation objects to the demand

for “any and all documents” contained in Request No. 78 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'


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documents . . . is inherently overbroad"). The Foundation further objects to

Request No. 78 as not relevant, germane, or competent to any party’s claim

or defense and proportional to the needs of this trade secret case, considering

the importance of the issues at stake in the action, the amount in controversy,

the parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit. This

Request is calculated to annoy and harass the Foundation, and Claggett is

merely trying to engage in a fishing expedition.

                                      79.

       Please produce any and all documents describing, referring to,
reflecting, or relating to how the voir dire material, methods, and/or
strategies presented in The Reptile Voir Dire: Keenan/Ball Method of
General and Case Specific Voir Dire DVD differ from the material you
now claim to be trade secrets.

RESPONSE TO REQUEST NO. 79 : The Foundation objects to the

demand for “any and all documents” contained in Request No. 79 as overly

broad and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P.

34(b)(1)(A) because it does not specifically describe with reasonable

particularity the information that is being requested and is not proportional

and tailored specifically to the claims or defenses in this case. See, e.g.,



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Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014

WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any

and all' documents . . . is inherently overbroad").       The Foundation will

produce documents sufficient to show how the voir dire material, methods,

and/or strategies presented in The Reptile Voir Dire: Keenan/Ball Method of

General and Case Specific Voir Dire DVD differ from the material the

Foundation claims are the trade secrets in this case, if they exist.

                                       80.

       Please produce any and all agreements between you and David Ball
in which Mr. Ball allowed you to teach the trial techniques, opening
statement techniques or methods, and/or voir dire techniques or methods
set forth in any of his publications, including but not limited to Damages
3, at the Keenan Trial Institute.

RESPONSE TO REQUEST NO. 80: The Foundation objects to the demand

for “any and all agreements” contained in Request No. 80 as overly broad and

impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because it does not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored

specifically to the claims or defenses in this case. See, e.g., Gropper v. David

Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at

*4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any and all'



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documents . . . is inherently overbroad"). The Foundation further objects to

Request No. 80 as not relevant, germane, or competent to any party’s claim

or defense and proportional to the needs of this trade secret case, considering

the importance of the issues at stake in the action, the amount in controversy,

the parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit. This

Request is calculated to annoy and harass the Foundation, and Claggett is

merely trying to engage in a fishing expedition.

                                      81.

      Please produce any and all Keenan Kids Foundation board of
director meeting minutes in which the board of directors authorized the
instant lawsuit.

RESPONSE TO REQUEST NO. 81: The Foundation objects to the demand

for board meeting minutes in Request No. 81 as not relevant, germane, or

competent to any party’s claim or defense and proportional to the needs of

this trade secret case, considering the importance of the issues at stake in the

action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed



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discovery outweighs its likely benefit. The Foundation further objects to

Request No. 81 to the extent it seeks documents protected by the attorney-

client privilege, attorney work product doctrine, or any other applicable

privilege. This Request is calculated to annoy and harass the Foundation, and

Claggett is merely trying to engage in a fishing expedition.

                                      82.

      Please produce any and all Keenan Kids Foundation board of
director meeting minutes in which the board of directors have discussed
trade secrets allegedly owned by Keenan Kids Foundation.

RESPONSE TO REQUEST NO. 82: The Foundation objects to the demand

for board minutes in Request No. 82 as not relevant, germane, or competent

to any party’s claim or defense and proportional to the needs of this trade

secret case, considering the importance of the issues at stake in the action, the

amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely

benefit. The Foundation further objects to Request No. 82 to the extent it

seeks documents protected by the attorney-client privilege, attorney work

product doctrine, or any other applicable privilege. The Foundation will




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produce any nonprivileged board minutes discussing the trade secrets owned

by the Foundation, if any exist.

                                      83.

      Please produce any and all Keenan Kids Foundation board of
director meeting minutes in which the board of directors have discussed
protection of trade secrets allegedly owned by Keenan Kids Foundation.

RESPONSE TO REQUEST NO. 83: The Foundation objects to the demand

for board minutes in Request No. 83 as not relevant, germane, or competent

to any party’s claim or defense and proportional to the needs of this trade

secret case, considering the importance of the issues at stake in the action, the

amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely

benefit. The Foundation further objects to Request No. 83 to the extent it

seeks documents protected by the attorney-client privilege, attorney work

product doctrine, or any other applicable privilege. The Foundation will

produce any nonprivileged board minutes discussing the protection of the

trade secrets owned by the Foundation, if any exist.




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                                    84.

      Please produce a list identifying any and all persons you asked to
watch and/or monitor any presentations conducted by Mr. Claggett from
2017 through the present.

RESPONSE TO REQUEST NO. 84: The Foundation objects to the demand

for “a list identifying” persons contained in Request No. 84 on the grounds

that demands the Foundation to create a responsive list or document for

Claggett. Rule 34 of the Federal Rules of Civil Procedure does not require a

party to create a document where none exist. The Foundation further objects

to Request No. 84 on the grounds it seeks documents protected by the

attorney-client privilege, attorney work product doctrine, or any other

applicable privilege.

                                    85.

      Please produce a list identifying any and all persons you asked to
audio or video record any presentations conducted by Mr. Claggett from
2017 through the present.

RESPONSE TO REQUEST NO. 85: The Foundation objects to the demand

for “a list identifying” persons contained in Request No. 85 on the grounds

that demands the Foundation to create a responsive list or document for

Claggett. Rule 34 of the Federal Rules of Civil Procedure does not require a

party to create a document where none exist. The Foundation further objects

to Request No. 85 on the grounds it seeks documents protected by the

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attorney-client privilege, attorney work product doctrine, or any other

applicable privilege.

                                    86.

      Please produce any and all audio and/or video recordings in your
possession of any and all presentations conducted by Mr. Claggett in
which you allege he disclosed your alleged trade secrets. This includes
any Trojan Horse Method and/or Case Analysis presentations at which
you allege Mr. Claggett disclosed your alleged trade secrets.

RESPONSE TO REQUEST NO. 86: The Foundation objects to the demand

for “any and all audio and/or video recordings” contained in Request No. 86

as overly broad and impermissible under Fed. R. Civ. P. 26(b) and Fed. R.

Civ. P. 34(b)(1)(A) because it does not specifically describe with reasonable

particularity the information that is being requested and is not proportional

and tailored specifically to the claims or defenses in this case. See, e.g.,

Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014

WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any

and all' documents . . . is inherently overbroad"). The Foundation further

objects to Request No. 86 on the grounds that the audio and/or video

recordings documents responsive to this request if they exist are already in

Mr. Claggett’s possession and the Foundation should not be required to

produce them because Mr. Claggett can obtain such audio and/or video



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recordings from a source that is more convenient, less burdensome, and

expensive.

                                    87.

      Please produce any and all audio and/or video recordings in your
possession of any and all presentations conducted by Mr. Claggett
between 2013 and the present. This includes any Trojan Horse Method
and/or Case Analysis presentations at which you allege Mr. Claggett
disclosed your alleged trade secrets.

RESPONSE TO REQUEST NO. 87: The Foundation objects to the demand

for “any and all audio and/or video recordings” contained in Request No. 87

as overly broad and impermissible under Fed. R. Civ. P. 26(b) and Fed. R.

Civ. P. 34(b)(1)(A) because it does not specifically describe with reasonable

particularity the information that is being requested and is not proportional

and tailored specifically to the claims or defenses in this case. See, e.g.,

Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014

WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a "request for 'any

and all' documents . . . is inherently overbroad"). The Foundation further

objects to Request No. 87 on the grounds that the audio and/or video

recordings documents responsive to this request if they exist are already in

Mr. Claggett’s possession and the Foundation should not be required to

produce them because Mr. Claggett can obtain such audio and/or video



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recordings from a source that is more convenient, less burdensome, and

expensive.

                                      88.

      Please produce all monthly, quarterly, and annual financial
statements for Keenan’s Kids Foundation for 2017 to the present,
including balance sheets and income or profit and loss statements.

RESPONSE TO REQUEST NO. 88: The Foundation objects to the demand

for “all monthly, quarterly, and annual financial statements” for the

Foundation for 2017 to the present, including balance sheets, income, or profit

and loss statements contained in Request No. 88 as overbroad, unduly

burdensome, not relevant, germane, or competent to any party’s claim or

defense, considering the importance of the issues at stake in the action, the

amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely

benefit. This Request is specifically calculated to annoy and harass the

Foundation, and Claggett is merely trying to engage in a fishing expedition.

                                      89.

     Please produce documents showing any salary, compensation,
and/or other monies paid to any Keenan’s Kids Foundation board
member in 2017.



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RESPONSE TO REQUEST NO. 89:                   The Foundation objects to the

demand for “any salary monies paid to any Keenan’s Kids Foundation board

member in 2017 contained in Request No. 89              as overbroad, unduly

burdensome, not relevant, germane, or competent to any party’s claim or

defense, considering the importance of the issues at stake in the action, the

amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely

benefit. This Request is specifically calculated to annoy and harass the

Foundation, and Claggett is merely trying to engage in a fishing expedition.

                                      90.

     Please produce documents showing any salary, compensation,
and/or other monies paid to any Keenan’s Kids Foundation board
member in 2018.

RESPONSE TO REQUEST NO. 90:                   The Foundation objects to the

demand for “documents showing any salary, compensation, and/or other

monies paid to any Keenan’s Kids Foundation board member in 2018”

contained in Request No. 90 as overbroad, unduly burdensome, not relevant,

germane, or competent to any party’s claim or defense, considering the

importance of the issues at stake in the action, the amount in controversy, the



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parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit. This

Request is specifically calculated to annoy and harass the Foundation, and

Claggett is merely trying to engage in a fishing expedition.

                                     91.

     Please produce documents showing any salary, compensation,
and/or other monies paid to any Keenan’s Kids Foundation board
member in 2019.

RESPONSE TO REQUEST NO. 91: The Foundation objects to the demand

for “documents showing any salary, compensation, and/or other monies paid

to any Keenan’s Kids Foundation board member in 2019” contained in

Request No. 91 as overbroad, unduly burdensome, not relevant, germane, or

competent to any party’s claim or defense, considering the importance of the

issues at stake in the action, the amount in controversy, the parties’ relative

access to relevant information, the parties’ resources, the importance of the

discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. This Request is specifically

calculated to annoy and harass the Foundation, and Claggett is merely trying

to engage in a fishing expedition.



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                                     92.

     Please produce documents showing any salary, compensation,
and/or other monies paid to any Keenan’s Kids Foundation board
member in 2020.

RESPONSE TO REQUEST NO. 92: The Foundation objects to the demand

for “documents showing any salary, compensation, and/or other monies paid

to any Keenan’s Kids Foundation board member in 2020” contained in

Request No. 92 as overbroad, unduly burdensome, not relevant, germane, or

competent to any party’s claim or defense, considering the importance of the

issues at stake in the action, the amount in controversy, the parties’ relative

access to relevant information, the parties’ resources, the importance of the

discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. This Request is specifically

calculated to annoy and harass the Foundation, and Claggett is merely trying

to engage in a fishing expedition.

                                     93.

     Please produce documents showing salaries and any other
compensation paid to any person by Keenan’s Kids Foundation in 2017.

RESPONSE TO REQUEST NO. 93: The Foundation objects to the demand

for “documents showing salaries and any other compensation paid to any

person by Keenan’s Kids Foundation in 2017” contained in Request No. 93


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as overbroad, unduly burdensome, not relevant, germane, or competent to any

party’s claim or defense, considering the importance of the issues at stake in

the action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed

discovery outweighs its likely benefit. This Request is specifically calculated

to annoy and harass the Foundation, and Claggett is merely trying to engage

in a fishing expedition.

                                     94.

     Please produce documents showing salaries and/or any other
compensation paid to any person by Keenan’s Kids Foundation in 2018.

RESPONSE TO REQUEST NO. 94:                   The Foundation objects to the

demand for “documents showing salaries and/or any other compensation paid

to any person by Keenan’s Kids Foundation in 2018” contained in Request

No. 94     as overbroad, unduly burdensome, not relevant, germane, or

competent to any party’s claim or defense, considering the importance of the

issues at stake in the action, the amount in controversy, the parties’ relative

access to relevant information, the parties’ resources, the importance of the

discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. This Request is specifically


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calculated to annoy and harass the Foundation, and Claggett is merely trying

to engage in a fishing expedition.

                                     95.

     Please produce documents showing salaries and/or any other
compensation paid to any person by Keenan’s Kids Foundation in 2019.

RESPONSE TO REQUEST NO. 95:                   The Foundation objects to the

demand for “documents showing salaries and/or any other compensation paid

to any person by Keenan’s Kids Foundation in 2019” contained in Request

No. 95    as overbroad, unduly burdensome, not relevant, germane, or

competent to any party’s claim or defense, considering the importance of the

issues at stake in the action, the amount in controversy, the parties’ relative

access to relevant information, the parties’ resources, the importance of the

discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit. This Request is specifically

calculated to annoy and harass the Foundation, and Claggett is merely trying

to engage in a fishing expedition.

                                     96.

     Please produce documents showing salaries and other
compensation paid to any person by Keenan’s Kids Foundation in 2020.

RESPONSE TO REQUEST NO. 96: The Foundation objects to the demand

for “documents showing salaries and other compensation paid to any person

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by Keenan’s Kids Foundation in 2020” contained in Request No. 96 as

overbroad, unduly burdensome, not relevant, germane, or competent to any

party’s claim or defense, considering the importance of the issues at stake in

the action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed

discovery outweighs its likely benefit. This Request is specifically calculated

to annoy and harass the Foundation, and Claggett is merely trying to engage

in a fishing expedition.

                                     97.

      Please produce documents showing how much money Keenan’s
Kids Foundation expended in 2017 on Reptile, Keenan Ball Trial College,
Keenan Edge, and/or Keenan Trial Institute functions, such as seminars,
books, marketing, trial college courses, and travel.

RESPONSE TO REQUEST NO. 97:                   The Foundation objects to the

demand for “documents showing how much money Keenan’s Kids

Foundation expended in 2017 on Reptile, Keenan Ball Trial College, Keenan

Edge, and/or Keenan Trial Institute functions, such as seminars, books,

marketing, trial college courses, and travel” contained in Request No. 97 as

overbroad, unduly burdensome, not relevant, germane, or competent to any

party’s claim or defense, considering the importance of the issues at stake in


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the action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed

discovery outweighs its likely benefit. This Request is specifically calculated

to annoy and harass the Foundation, and Claggett is merely trying to engage

in a fishing expedition.

                                      98.

      Please produce documents showing how much money Keenan’s
Kids Foundation expended in 2018 on Reptile, Keenan Ball Trial College,
Keenan Edge, and/or Keenan Trial Institute functions, such as seminars,
books, marketing, trial college courses, and travel.

RESPONSE TO REQUEST NO. 99: The Foundation objects to the demand

for “documents showing how much money Keenan’s Kids Foundation

expended in 2018 on Reptile, Keenan Ball Trial College, Keenan Edge, and/or

Keenan Trial Institute functions, such as seminars, books, marketing, trial

college courses, and travel” contained in Request No. 98 as overbroad, unduly

burdensome, not relevant, germane, or competent to any party’s claim or

defense, considering the importance of the issues at stake in the action, the

amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely


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benefit. This Request is specifically calculated to annoy and harass the

Foundation, and Claggett is merely trying to engage in a fishing expedition.

                                     99.

      Please produce documents showing how much money Keenan’s
Kids Foundation expended in 2019 on Reptile, Keenan Ball Trial College,
Keenan Edge, and/or Keenan Trial Institute functions, such as seminars,
books, marketing, trial college courses, and travel.

RESPONSE TO REQUEST NO. 99:                   The Foundation objects to the

demand for “documents showing how much money Keenan’s Kids

Foundation expended in 2019 on Reptile, Keenan Ball Trial College, Keenan

Edge, and/or Keenan Trial Institute functions, such as seminars, books,

marketing, trial college courses, and travel” contained in Request No. 99 as

overbroad, unduly burdensome, not relevant, germane, or competent to any

party’s claim or defense, considering the importance of the issues at stake in

the action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed

discovery outweighs its likely benefit. This Request is specifically calculated

to annoy and harass the Foundation, and Claggett is merely trying to engage

in a fishing expedition.




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                                     100.

      Please produce documents showing how much money Keenan’s
Kids Foundation expended in 2020 on Reptile, Keenan Ball Trial College,
Keenan Edge, and/or Keenan Trial Institute functions, such as seminars,
books, marketing, trial college courses, and travel.

RESPONSE TO REQUEST NO. 100: The Foundation objects to the

demand for “documents showing how much money Keenan’s Kids

Foundation expended in 2020 on Reptile, Keenan Ball Trial College, Keenan

Edge, and/or Keenan Trial Institute functions, such as seminars, books,

marketing, trial college courses, and travel” contained in Request No. 100 as

overbroad, unduly burdensome, not relevant, germane, or competent to any

party’s claim or defense, considering the importance of the issues at stake in

the action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed

discovery outweighs its likely benefit. This Request is specifically calculated

to annoy and harass the Foundation, and Claggett is merely trying to engage

in a fishing expedition.




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                                      101.

     Documents sufficient to identify any and all accountants,
accounting firms and or auditors who provided services to Keenan’s Kids
Foundation in the last 5 years.

RESPONSE TO REQUEST NO. 101: The Foundation objects to the

demand for documents “to identify any and all accountants, accounting firms

and or auditors who provided services to Keenan’s Kids Foundation in the last

5 year” contained in Request No. 101 as overbroad, unduly burdensome, not

relevant, germane, or competent to any party’s claim or defense, considering

the importance of the issues at stake in the action, the amount in controversy,

the parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit. This

Request is specifically calculated to annoy and harass the Foundation, and

Claggett is merely trying to engage in a fishing expedition.

                                      102.

      Documents which reflect, refer to or relate to marketing and
promotional materials, including advertisements and brochures, used by
Keenan’s Kids Foundation related to any course, seminar or presentation
where voir dire, related techniques and/or the alleged trade secrets were
discussed.

RESPONSE TO REQUEST NO. 102:                   The Foundation objects to the

demand for marketing and promotional materials contained in Request No.

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102 as overbroad, unduly burdensome, not relevant, germane, or competent

to any party’s claim or defense, considering the importance of the issues at

stake in the action, the amount in controversy, the parties’ relative access to

relevant information, the parties’ resources, the importance of the discovery

in resolving the issues, and whether the burden or expense of the proposed

discovery outweighs its likely benefit. The Foundation further objects to the

lack of a time period in this Request as overbroad and unduly burdensome.

The Foundation will produce representative samples of marketing and

promotional materials used by the Foundation for courses, seminars or

presentation where voir dire or the trade secrets were discussed, if any exist.

                                     103.

      All video and audio recordings of Don Keenan or any other
individual who is or has been an employee, instructor, officer or director
for Keenan’s Kids Foundation discussing voir dire, related techniques
and/or the alleged trade secrets.

RESPONSE TO REQUEST NO. 103:                  The Foundation objects to the

demand for “[a]ll video and audio recordings of Don Keenan or any other

individual who is or has been an employee, instructor, officer or director for

Keenan’s Kids Foundation discussing voir dire, related techniques and/or the

alleged trade secrets” contained in Request No. 103 as grossly overbroad,

unduly burdensome, not relevant, germane, or competent to any party’s claim


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or defense, considering the importance of the issues at stake in the action, the

amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely

benefit. The Foundation further objects to this Request on the grounds that

the phrase “related techniques” as used in this request is vague, ambiguous,

and undefined. The Foundation further objects to the lack of a time period in

this Request as overbroad and unduly burdensome. Literally construed,

Request No. 103 would require the Foundation to review every video and

audio recording potentially over the course of decades to ascertain if the video

or audio recording discusses voir dire, related, techniques or the specific trade

secrets at issue in this case.

                                      104.

       All employee handbooks used by you in the last 10 years.

RESPONSE TO REQUEST NO. 104: The Foundation objects to the

demand for “[a]ll employee handbooks” used by the Foundation over the last

10 years, as not relevant, germane, or competent to any party’s claim or

defense and proportional to the needs of this trade secret case, considering the

importance of the issues at stake in the action, the amount in controversy, the



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parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit. The request

for “all employee handbooks” over a ten-year time period is not reasonably

related to any claim or defense in this trade secret action that alleges that

Claggett misappropriated the Foundation’s trade secrets relating to voir dire

techniques, and there is no good reason to go beyond the ordinary scope of

discovery under Rule 26(b). Further, the request for all employee handbooks

requires the Foundation to speculate as to what employee handbooks might

be responsive to the request (e.g., handbooks outlining what business rules,

polices, and expectations of behavior and performance in the workplace that

the Foundation has for its employees) and has no tendency to make the

existence of any fact that is of consequence to the determination of this trade

secret action—and in particular whether the Foundation owns a protectable

trade secret and whether Claggett has misappropriated it—more probable than

it would otherwise be without the evidence. This Request is calculated to

annoy and harass the Foundation, and Claggett is merely trying to engage in

a fishing expedition.




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                                     105.

       All documents reflecting, referring to or relating to any written
policies and procedures used by you in the last 10 years.

RESPONSE TO REQUEST NO. 105: The Foundation objects to the

demand for “all documents” relating to “any written policies and procedures”

used by the Foundation over the last 10 years, as not relevant, germane, or

competent to any party’s claim or defense and proportional to the needs of

this trade secret case, considering the importance of the issues at stake in the

action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed

discovery outweighs its likely benefit. The request for all documents relating

to any policies and procedures over a ten-year time period is not reasonably

related to any claim or defense in this trade secret action that alleges that

Claggett misappropriated the Foundation’s trade secrets relating to voir dire

techniques, and there is no good reason to go beyond the ordinary scope of

discovery under Rule 26(b). Further, the request for all documents relating to

any policies and procedures requires the Foundation to speculate as to what

documents might be responsive to the request (e.g., general office policies and

procedures relating to basic operational tasks, including answering phones,


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sorting mail, responding to prospective attendee inquiries, ordering supplies,

etc.) and has no tendency to make the existence of any fact that is of

consequence to the determination of this trade secret action—and in particular

whether the Foundation owns a protectable trade secret and whether Claggett

has misappropriated it—more probable than it would otherwise be without the

evidence. This Request is calculated to annoy and harass the Foundation, and

Claggett is merely trying to engage in a fishing expedition.

                                     106.

      Any organizational charts you have had in the last 10 years.

RESPONSE TO REQUEST NO. 106:

      The Foundation objects to the demand for any organizational charts of

the Foundation in the last 10 years as not relevant, germane, or competent to

any party’s claim or defense and proportional to the needs of this trade secret

case, considering the importance of the issues at stake in the action, the

amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely

benefit. The request any organizational charts over a ten-year time is not

reasonably related to any claim or defense in this trade secret action that



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alleges that Claggett misappropriated the Foundation’s trade secrets relating

to voir dire techniques, and there is no good reason to go beyond the ordinary

scope of discovery under Rule 26(b).        Further, the ten-years’ worth of

organizational charts for the Foundation have no tendency to make the

existence of any fact that is of consequence to the determination of this trade

secret action against Claggett more probable than it would otherwise be

without the evidence. This Request is specifically calculated to annoy and

harass the Foundation, and Claggett is merely trying to engage in a fishing

expedition.

                                     107.

       Any organizational charts Keenan Ball Trial College had in the
last 10 years.

RESPONSE TO REQUEST NO. 107:

      The Foundation objects to the demand for any organizational charts

Keenan Ball Trial College in the last 10 years as not relevant, germane, or

competent to any party’s claim or defense and proportional to the needs of

this trade secret case, considering the importance of the issues at stake in the

action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed


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discovery outweighs its likely benefit. The request any organizational charts

over a ten-year time is not reasonably related to any claim or defense in this

trade secret action that alleges that Claggett misappropriated the Foundation’s

trade secrets relating to voir dire techniques, and there is no good reason to go

beyond the ordinary scope of discovery under Rule 26(b). Further, the ten-

years’ worth of organizational charts for Keenan Ball Trial College have no

tendency to make the existence of any fact that is of consequence to the

determination of this trade secret action against Claggett more probable than

it would otherwise be without the evidence. This Request is specifically

calculated to annoy and harass the Foundation, and Claggett is merely trying

to engage in a fishing expedition.

                                      108.

      Any organizational charts Keenan Trial Institute had in the last
10 years.

RESPONSE TO REQUEST NO. 108:

      The Foundation objects to the demand for any organizational charts

Keenan Trial Institute had in the last 10 years as not relevant, germane or

competent to any party’s claim or defense and proportional to the needs of

this trade secret case, considering the importance of the issues at stake in the

action, the amount in controversy, the parties’ relative access to relevant


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information, the parties’ resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed

discovery outweighs its likely benefit. The request any organizational charts

over a ten-year time is not reasonably related to any claim or defense in this

trade secret action that alleges that Claggett misappropriated the Foundation’s

trade secrets relating to voir dire techniques, and there is no good reason to go

beyond the ordinary scope of discovery under Rule 26(b). Further, the ten-

years’ worth of organizational charts for Keenan Trial Institute have no

tendency to make the existence of any fact that is of consequence to the

determination of this trade secret action against Claggett more probable than

it would otherwise be without the evidence. This Request is specifically

calculated to annoy and harass the Foundation as well as persons who are not

likely to have discoverable information and whom the Foundation may not

use to supports its claims, and Claggett is merely trying to engage in a fishing

expedition.




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                                      109.

      Documents sufficient to identify the employees, officers, directors
and instructors you have had over the last 10 years.

RESPONSE TO REQUEST NO. 109:

      The Foundation objects to the demand for documents that identify any

and all employees, officers, directors and instructors that the Foundation has

had over the last 10 years as not relevant, germane, or competent to any party’s

claim or defense and proportional to the needs of this trade secret case,

considering the importance of the issues at stake in the action, the amount in

controversy, the parties’ relative access to relevant information, the parties’

resources, the importance of the discovery in resolving the issues, and whether

the burden or expense of the proposed discovery outweighs its likely benefit.

The request for the identities of any and all such persons regardless of their

roles and responsibilities at the Foundation over a time-period that far-

exceeded Claggett’s time role as a student and instructor is untethered to and

not reasonably related to any claim or defense in this trade secret action that

alleges that Claggett misappropriated the Foundation’s trade secrets relating

to voir dire techniques, and there is no good reason to go beyond the ordinary

scope of discovery under Rule 26(b). Further, the identities of any and all

employees, officers, directors and instructors over ten years regardless of their


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responsibilities has no tendency to make the existence of any fact that is of

consequence to the determination of this trade secret action against Claggett

more probable than it would otherwise be without the evidence.               The

Foundation further objects to Request No. 109 as overbroad, duplicative of

earlier requests, and the identities of all such employees, officers, directors

and instructors is not relevant, germane, or competent to the issues in this case.

This Request is specifically calculated to annoy and harass the Foundation

and the persons who are without basis the target of this discovery request, and

Claggett is merely trying to engage in a fishing expedition.

                                      110.

     Any and all agreements entered into with anyone who is or has
been an employee, instructor, officer or director for Keenan’s Kids
Foundation, including but not limited to employment and confidentiality
agreements.

RESPONSE TO REQUEST NO. 110:

      The Foundation objects to the demand for “any and all agreements”

including “but not limited to employment and confidentiality agreements” for

all current and former employees, instructors, officers or directors for the

Foundation over the last twenty-plus as not relevant, germane, or competent

to any party’s claim or defense and proportional to the needs of this trade

secret case, considering the importance of the issues at stake in the action, the


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amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely

benefit. The request for such agreements of any and all kinds is overbroad

and unduly burdensome and not reasonably related to any claim or defense in

this trade secret action that alleges that Claggett misappropriated the

Foundation’s trade secrets relating to voir dire techniques, and there is no

good reason to go beyond the ordinary scope of discovery under Rule 26(b).

Further, such agreements have no tendency to make the existence of any fact

that is of consequence to the determination of this trade secret action against

Claggett more probable than it would otherwise be without the evidence. This

Request is specifically calculated to annoy and harass the Foundation, and

Claggett is merely trying to engage in a fishing expedition.

                                      111.

      Any and all documents showing reflecting, referring to, or relating
to any and all payments from Keenan’s Kids Foundation to New Frontier
Air, LLC from 2015 through the present.

RESPONSE TO REQUEST NO. 111:

      The Foundation objects to the demand for “any and all documents”

reflecting, referring to, or relating to “any and all payments” over the last five



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years from the Foundation to nonparty New Frontier Air, LLC as not relevant,

germane, or competent to any party’s claim or defense and proportional to the

needs of this trade secret case, considering the importance of the issues at

stake in the action, the amount in controversy, the parties’ relative access to

relevant information, the parties’ resources, the importance of the discovery

in resolving the issues, and whether the burden or expense of the proposed

discovery outweighs its likely benefit. The request for such payments to this

nonparty is not reasonably related to any claim or defense in this trade secret

action that alleges that Claggett misappropriated the Foundation’s trade

secrets relating to voir dire techniques, and there is no good reason to go

beyond the ordinary scope of discovery under Rule 26(b). Further, such

payments to this nonparty entity has no tendency to make the existence of any

fact that is of consequence to the determination of this trade secret action

against Claggett more probable than it would otherwise be without the

evidence. This Request is specifically calculated to annoy and harass the

Foundation, and Claggett is merely trying to engage in a fishing expedition.

                                     112.

      Any and all documents showing reflecting, referring to, or relating
to any and all payments from Keenan’s Kids Foundation to Balloon Press
from 2015 through the present.



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RESPONSE TO REQUEST NO. 112:

      The Foundation objects to the demand for “any and all documents”

reflecting, referring to, or relating to “any and all payments” over the last five

years from the Foundation to nonparty Balloon Press publishing company as

not relevant, germane, or competent to any party’s claim or defense and

proportional to the needs of this trade secret case, considering the importance

of the issues at stake in the action, the amount in controversy, the parties’

relative access to relevant information, the parties’ resources, the importance

of the discovery in resolving the issues, and whether the burden or expense of

the proposed discovery outweighs its likely benefit. The request for such

payments to a nonparty is not reasonably related to any claim or defense in

this trade secret action that alleges that Claggett misappropriated the

Foundation’s trade secrets relating to voir dire techniques, and there is no

good reason to go beyond the ordinary scope of discovery under Rule 26(b).

Further, such payments to this nonparty publication company has no tendency

to make the existence of any fact that is of consequence to the determination

of this trade secret action against Claggett more probable than it would

otherwise be without the evidence. This Request is specifically calculated to




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annoy and harass the Foundation, and Claggett is merely trying to engage in

a fishing expedition.

                                     113.

      Any and all documents showing reflecting, referring to, or relating
to any and all payments from Keenan’s Kids Foundation to Keenan Law
Firm from 2015 through the present.

RESPONSE TO REQUEST NO. 113:

      The Foundation objects to the demand for “any and all documents”

reflecting, referring to, or relating to any payments over the last five years

from the Foundation to nonparty the Keenan Law Firm as not relevant,

germane, or competent to any party’s claim or defense and proportional to the

needs of this trade secret case, considering the importance of the issues at

stake in the action, the amount in controversy, the parties’ relative access to

relevant information, the parties’ resources, the importance of the discovery

in resolving the issues, and whether the burden or expense of the proposed

discovery outweighs its likely benefit. The request for such payments is not

reasonably related to any claim or defense in this trade secret action that

alleges that Claggett misappropriated the Foundation’s trade secrets relating

to voir dire techniques, and there is no good reason to go beyond the ordinary

scope of discovery under Rule 26(b). Further, such payments to a nonparty



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has no tendency to make the existence of any fact that is of consequence to

the determination of this trade secret action against Claggett more probable

than it would otherwise be without the evidence. The Foundation further

objects to Request No. 113 on the grounds that it seeks documents protected

by the attorney-client privilege, attorney work product doctrine, or any other

applicable privilege. This Request is specifically calculated to annoy and

harass the Foundation, and Claggett is merely trying to engage in a fishing

expedition.

                                     114.

      Any and all documents showing reflecting, referring to, or relating
to any and all payments from Keenan’s Kids Foundation to David Ball
and/or any entity owned or controlled by David Ball from 2015 through
the present.

RESPONSE TO REQUEST NO. 114:

      The Foundation objects to the demand for “any and all documents”

reflecting, referring to, or relating to any payments over the last five years

from the Foundation to non-party trial consultant as not relevant, germane, or

competent to any party’s claim or defense and proportional to the needs of

this trade secret case, considering the importance of the issues at stake in the

action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in


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resolving the issues, and whether the burden or expense of the proposed

discovery outweighs its likely benefit. The request for such payments is not

reasonably related to any claim or defense in this trade secret action that

alleges that Claggett misappropriated the Foundation’s trade secrets relating

to voir dire techniques, and there is no good reason to go beyond the ordinary

scope of discovery under Rule 26(b). Further, such payments to a nonparty

has no tendency to make the existence of any fact that is of consequence to

the determination of this trade secret action against Claggett more probable

than it would otherwise be without the evidence. This Request is specifically

calculated to annoy and harass the Foundation, and Claggett is merely trying

to engage in a fishing expedition.

                                     115.

     Any and all documents showing any and all payments from
Keenan’s Kids Foundation to the Murphy House Project from 2015
through the present.

      RESPONSE TO REQUEST NO. 115: The Foundation objects to the

demand for “any and all payments” over the last five years from the

Foundation to the Murphy House Project, which has helped to provide a home

for the Murphy family and children, as not relevant, germane, or competent

to any party’s claim or defense and proportional to the needs of this trade


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secret case, considering the importance of the issues at stake in the action, the

amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely

benefit. The request for such payments is not reasonably related to any claim

or defense in this trade secret action that alleges that Claggett misappropriated

the Foundation’s trade secrets relating to voir dire techniques, and there is no

good reason to go beyond the ordinary scope of discovery under Rule 26(b).

Further, such payments to the project has no tendency to make the existence

of any fact that is of consequence to the determination of this trade secret

action more probable than it would otherwise be without the evidence. This

Request is calculated to annoy and harass the Foundation, and Claggett is

merely trying to engage in a fishing expedition.




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Dated: December 4, 2020

                                  /s/ John M. Bowler
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                                  Georgia Bar No. 358160
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF GEORGIA
                         ATLANTA DIVISION

  KEENAN’S KIDS FOUNDATION,                   )
  INC.,                                       )
                                              )
                  Plaintiff,                  ) Civil Action File No.:
                                              )
  -vs.-                                       ) 1:20-cv-01702-WMR
                                              )
  SEAN CLAGGETT,                              )
                                              )
                   Defendant.                 )

                         CERTIFICATE OF SERVICE

            I have this 4th day of December, 2020 served the foregoing

 “Keenan’s Kids Foundation, Inc.’s Specific Objections and Responses to

 Defendant’s First Request for Production of Documents” upon all parties

 by e-mail on counsel of record as follows:

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                                        /s/ John M. Bowler
                                        John M. Bowler



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